          Case 2:24-cv-03371-GRB-SIL Document 9 Filed 05/08/24 Page 1 of 4 PageID #: 336

AO 440 (Rev_ 0612) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                for the
                                                Eastern District of New York

    ARIEL NACHMAN (p/k/a ARIEL PEARL) and                           )
                   MICHAEL NACHMAN                                  )
                                                                    )
                                                                    )
                           Plai11tij_/(s)
                                V_                                        Civil Action No_ 2:24 cv 3371 (GRB)(SIL)
        JOSH STONE and REAL VIBEZ ONLY, LLC




                          Deje11dan1(,)


                                                 SUMMONS IN A CIVIL ACTION
                ,                  . Josh Stone
To: (Defnula111 s 11anw and address)
       •                             3178 Clubhouse Road
                                     Merrick, New York 11566




          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ _
P_ 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure_ The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address arc:
                                        Stephanie Fungang Adwar
                                        Furgang & Adwar
                                        225 West 34th Street Fl 9
                                        New York, NY 10122

        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion vvith the court.

                                                                               Brenna B. Mahoney
                                                                            CLk'RK OF COURT


Date:            05/08/2024                                                        .~~~------~- t ! ~'
                                                                                      Sig11awre cf
          Case 2:24-cv-03371-GRB-SIL Document 9 Filed 05/08/24 Page 2 of 4 PageID #: 337

AO 440 (Rev. 06il2) Sununons in a Civil Action (Page 2)

Civil Action No. 2:24 cv 3371 (GRB)(SIL)

                                                        PROOF OF SERVICE
                        (This section should not be.filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, ifany)
was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                  on (date)                            : or

           0 I left the summons at the individual· s residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion \vho resides there,
         ------------------
           011 (dare)                               . and mailed a copy to the individual· s last knO\vn address; or

           0 I served the summons on (name of i11dividual)                                                                      , who is
           designated by law to accept service of process on behalf of (name oforga11iza1io11J
                                                                                  on (date)                            : or

          0 1 returned the summons unexecuted because                                                                                : or

          0 Other (specifi     1):




          My fees are$                             for travel and $                   for services, for a total of$           0.00


          I declare under penalty of perjury that this infom1ation is true.



Date:
                                                                                              Seiver ·s sig11al11re



                                                                                          Printed name and 1i1/e




                                                                                              Sen•er 's address

Additional infom1ation regarding attempted service, etc:
          Case 2:24-cv-03371-GRB-SIL Document 9 Filed 05/08/24 Page 3 of 4 PageID #: 338

AO 440 (Rev. 06:12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                 Eastern District of New York

    ARIEL NACHMAN (p/k/a ARIEL PEARL) and
                     MICHAEL NACHMAN



                           Plaintif((s)
                                 V.                                        Civil Action No. 2:24 cv 3371 (GRB)(SIL)
        JOSH STONE and REAL VIBEZ ONLY, LLC




                          Deje11da11t(s)


                                                   SUMMONS IN A CIVIL ACTION
          .     ,                     . Real Vibez Only, LLC
To: (Defendants name and address;                      .           .
      •                           100 Crossways Park Drive West, Suite 402
                                  Woodbury, New York 11797




          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R Civ.
P 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                           Stephanie Fungang Adwar
                                           Furgang & Adwar
                                           225 West 34th Street Fl 9
                                           New York, NY 10122

        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                Brenna B. Mahoney
                                                                             CLERK OF COURT


Date:               05/08/2024
          Case 2:24-cv-03371-GRB-SIL Document 9 Filed 05/08/24 Page 4 of 4 PageID #: 339

AO 440 (Rev. 06/ l 2) Summons in a Civil Action (Page 2)

 Civil Action No. 2:24 cv 3371 (GRB)(SIL)

                                                        PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (/))

           T11is summons for (name of individual and title. ifa11_i1
was received by me on (date)


           0 I personally served the summons on the individual at (place)
                                                                                  011 (datej                           : or

           0 I left the summons at the individual· s residence or usual place of abode with (name;
                                                                   , a person of suitable age and discretion who resides there,
         - - - - - - -- - - - - - - - - - -
           on (datej                                , and mailed a copy to the individuars last known address: or

           0 I served the summons on (name of individual)                                                                       , who is
           designated by law to accept service of process on behalf of (11arne of organization)
                                                                                  on (dare)                            : or

          0 I returned the summons unexecuted because                                                                                : or

          0 Other (speci[v).·




          My fees are$                              for travel and $                  for services, for a total of$           0.00


          I declare under penalty of perjury that this infon11ation is true.



Date:
                                                                                               S en 1er 's signature



                                                                                          Pril/{ed name a11d rii/e




                                                                                               Setv er ·s address


Additional infon11ation regarding attempted service, etc:
